      Case 3:17-cv-00561-WHO Document 48-1 Filed 04/28/17 Page 1 of 7



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 6   San Francisco, California 94105-2482
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 7   Facsimile:    (415) 268-7522

 8   Attorneys for Defendants and Counterclaimant
     UBIQUITI NETWORKS, INC., and
 9   CHING-HAN TSAI

10
                      IN THE UNITED STATES DISTRICT COURT FOR THE
11                         NORTHERN DISTRICT OF CALIFORNIA
12                               SAN FRANCISCO DIVISION

13
     SYNOPSYS, INC.,                                         Case No. 5:17-cv-00561-WHO
14
                            Plaintiff,                       DECLARATION OF JENNIFER
15                                                           LEE TAYLOR IN SUPPORT OF
            v.                                               UBIQUITI NETWORKS, INC.
16                                                           AND CHING-HAN TSAI’S
     UBIQUITI NETWORKS, INC., UBIQUITI                       MOTION FOR
17   NETWORKS INTERNATIONAL LIMITED,                         ADMINISTRATIVE RELIEF TO
     CHING-HAN TSAI, and DOES 1-20,                          EXCEED PAGE LIMIT UNDER
18   inclusive                                               LOCAL RULE 7-11

19                          Defendants.
20
     UBIQUITI NETWORKS, INC.,
21
                            Counterclaimant,
22
            v.
23
     SYNOPSYS, INC.,
24
                            Counterdefendant.
25

26

27
28

     CASE NO. 5:17-CV-00561-WHO
     DECLARATION OF JENNIFER LEE TAYLOR IN SUPPORT OF MOTION FOR ADMINISTRATIVE RELIEF
     sf-3764037
      Case 3:17-cv-00561-WHO Document 48-1 Filed 04/28/17 Page 2 of 7



 1          I, Jennifer Lee Taylor, do hereby declare as follows:

 2          1.      I am a partner at the law firm of Morrison & Foerster LLP, attorneys of record in

 3   this action for defendants Ubiquiti Networks, Inc. and Ching-Han Tsai (“Defendants”). I submit

 4   this declaration in support of Defendants’ motion for administrative relief under Local Rule 7-11

 5   to exceed the page limits set by L.R. 7-4(b). Unless otherwise indicated, I have personal

 6   knowledge of the matters set forth below. If called as a witness, I could and would testify

 7   competently as follows.

 8          2.      On April 28, 2017, I contacted Denise Mingrone, counsel for Plaintiff, to seek

 9   Plaintiff’s consent to Defendants’ request to file a 20-page brief in connection with Defendants’

10   Reply in support of its Motion to Dismiss the Second, Third, Fourth, Fifth, Sixth, and Seventh

11   Claims in Plaintiff’s Amended Complaint for failure to state a claim. (See Ex. A, April 28, 2017

12   Email from J. Taylor to D. Mingrone, attached hereto). Ms. Mingrone promptly replied, refusing

13   to consent to an additional five pages unless Defendants agreed that Plaintiff can file a Surreply.

14   (See Ex. B, April 28, 2017 Email from D. Mingrone to J. Taylor.)

15

16          I declare under the penalty of perjury under the laws of the United States of America that

17   the forgoing is true and correct. Executed on April 28, 2017 at San Francisco, California.

18

19                                                         By: /s/ Jennifer Lee Taylor
                                                                   Jennifer Lee Taylor
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                                                                                                           1
     CASE NO. 5:17-CV-00561-WHO
     DECLARATION OF JENNIFER LEE TAYLOR IN SUPPORT OF MOTION FOR ADMINISTRATIVE RELIEF
     sf-3764037
Case 3:17-cv-00561-WHO Document 48-1 Filed 04/28/17 Page 3 of 7
       Case 3:17-cv-00561-WHO Document 48-1 Filed 04/28/17 Page 4 of 7


From:             Taylor, Jennifer Lee (SF)
To:               Mingrone, Denise M.; "Uriarte, Robert L."
Cc:               Liou, Joyce; Phillips, Amanda D.; Sprenkel, Stacey M.
Bcc:              Sario, Lucia M.
Subject:          Stipulation for overlength brief
Date:             Friday, April 28, 2017 8:55:28 AM


Denise and Rob,

It looks like we will need 20 pages to address the issues in your opposition to Tsai’s and UBNT’s 12(b)
(6) motion. Can you let us know if you will consent to an additional five pages? We would like to get
a stipulation on file today.

Thank you,

Jennifer

Jennifer Lee Taylor
Morrison & Foerster LLP
425 Market St. | San Francisco, CA 94105
P: +1 (415) 268.6538 | F: +1 (415) 276.7239
JTaylor@mofo.com | www.mofo.com
Case 3:17-cv-00561-WHO Document 48-1 Filed 04/28/17 Page 5 of 7
           Case 3:17-cv-00561-WHO Document 48-1 Filed 04/28/17 Page 6 of 7


From:                 Mingrone, Denise M.
To:                   Taylor, Jennifer Lee (SF); Uriarte, Robert L.
Cc:                   Liou, Joyce; Phillips, Amanda D.; Sprenkel, Stacey M.
Subject:              [EXT] RE: Stipulation for overlength brief
Date:                 Friday, April 28, 2017 9:29:58 AM


Hi Jennifer,

We disagree that any additional pages are needed; we addressed all arguments Ubiquiti raised within
our page limits and see no reason why additional pages would be needed to reply. Nonetheless and
in the spirit of compromise, if you want to draft a stipulation that states “Synopsys does not believe
additional pages are needed in reply but respectfully requests that if the Court disagrees and allow
Ubiquiti 5 extra pages on reply, that Synopsys be given the opportunity to submit a 5 page surreply,”
we will consider such stipulation.

Let us know how you would like to proceed. Thanks,
Denise

From: Taylor, Jennifer Lee (SF) [mailto:JTaylor@mofo.com]
Sent: Friday, April 28, 2017 8:55 AM
To: Mingrone, Denise M. <dmingrone@orrick.com>; Uriarte, Robert L. <ruriarte@orrick.com>
Cc: Liou, Joyce <JLiou@mofo.com>; Phillips, Amanda D. <APhillips@mofo.com>; Sprenkel, Stacey M.
<SSprenkel@mofo.com>
Subject: Stipulation for overlength brief

Denise and Rob,

It looks like we will need 20 pages to address the issues in your opposition to Tsai’s and UBNT’s 12(b)(6) motion.
Can you let us know if you will consent to an additional five pages? We would like to get a stipulation on file
today.

Thank you,

Jennifer

Jennifer Lee Taylor
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============================================================================


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cooperation.
          Case 3:17-cv-00561-WHO Document 48-1 Filed 04/28/17 Page 7 of 7


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